Case 4:20-cv-05640-YGR Document 225-14 Filed 12/31/20 Page 1 of 10




                  EXHIBIT 11
               Case 4:20-cv-05640-YGR Document 225-14 Filed 12/31/20 Page 2 of 10




From:                              Lazarus, Eli M.
Sent:                              Thursday, December 10, 2020 8:21 PM
To:                                bens@hbsslaw.com; Srinivasan, Jay P.; jkarin@cravath.com; *** GDC EpicLitTeam;
                                   bmaida@cravath.com; Yang, Betty X.; byrd@whafh.com; dejong@whafh.com; epic-
                                   mobileapps@cravath.com; guiney@whafh.com; LMoskowitz@cravath.com;
                                   rifkin@whafh.com; robl@hbsslaw.com; shanas@hbsslaw.com; steve@hbsslaw.com;
                                   tedw@hbsslaw.com
Subject:                           RE: Activity in Case 4:11-cv-06714-YGR In re Apple iPhone Antitrust Litigation


Ben, we have been further discussing with Apple’s data team the timing of production of transactional data. Because
Apple has agreed to certain of plaintiffs’ demands to include additional fields, assembling the final data set will require
some additional time. This additional time is necessary for work that cannot be accomplished before the final fields and
parameters are set, and that work requires members of Apple’s data team to physically go into Apple’s data labs, which
they are otherwise not doing as a result of the pandemic and associated health concerns and legal
restrictions. Additionally, Apple will be shut down from December 24 to January 4 for the end-of-year holidays. As a
result, Apple believes it would be able to produce the data by mid-Ja nuary (without the additional proceeds_reason field
that plaintiffs have demanded). In order to produce the bulk of the data as quickly as possible, we will separately
produce one recently agreed-upon item, game_center_enabled—particular characteristics of this item make it relatively
easy to produce separately, unlike many others. We will let you know if any other adjustments become necessary or
helpful to producing as quickly as reasonably possible, or if any difficulties arise that affect the timing of the production.
Best regards,
Eli


Eli Lazarus

GIBSON DUNN
Gibson, Dunn & Crutcher LLP
555 Mission Street, San Francisco, CA 94105-0921
Tel +1 415.393.8340 • Fax +1 415.374.8496
ELazarus@gibsondunn.com • www.gibsondunn.com



From: Ben Siegel <bens@hbsslaw.com>
Sent: Thursday, December 10, 2020 3:29 PM
To: Lazarus, Eli M. <ELazarus@gibsondunn.com>; Srinivasan, Jay P. <JSrinivasan@gibsondunn.com>;
jkarin@cravath.com; *** GDC EpicLitTeam <AppleAppStoreDiscovery@gibsondunn.com>; bmaida@cravath.com; Yang,
Betty X. <BYang@gibsondunn.com>; byrd@whafh.com; dejong@whafh.com; epic-mobileapps@cravath.com;
guiney@whafh.com; LMoskowitz@cravath.com; rifkin@whafh.com; robl@hbsslaw.com; shanas@hbsslaw.com;
steve@hbsslaw.com; tedw@hbsslaw.com
Subject: RE: Activity in Case 4:11-cv-06714-YGR In re Apple iPhone Antitrust Litigation

[External Email]
Eli, Thank you for your email. Can you please confirm that you will provide this information today (we asked
for it by Tuesday)? Class Plaintiffs and Apple have discussed this several times already, so Apple employees
have examined this before. We are simply asking for most precise, up-to-date estimate Apple can provide,
which is important and time-sensitive for planning purposes.

                                                              1
               Case 4:20-cv-05640-YGR Document 225-14 Filed 12/31/20 Page 3 of 10

Very truly yours, Ben



Ben Siegel | Hagens Berman Sobol Shapiro LLP | Direct: (510) 725-3036


From: Lazarus, Eli M. <elazarus@gibsondunn.com>
Sent: Wednesday, December 9, 2020 9:22 PM
To: Ben Siegel <bens@hbsslaw.com>; jsrinivasan@gibsondunn.com; jkarin@cravath.com;
appleappstorediscovery@gibsondunn.com; bmaida@cravath.com; byang@gibsondunn.com; byrd@whafh.com;
dejong@whafh.com; epic-mobileapps@cravath.com; guiney@whafh.com; lmoskowitz@cravath.com;
rifkin@whafh.com; Rob Lopez <robl@hbsslaw.com>; Shana Scarlett <shanas@hbsslaw.com>; Steve Berman
<Steve@hbsslaw.com>; Ted Wojcik <TedW@hbsslaw.com>
Subject: RE: Activity in Case 4:11-cv-06714-YGR In re Apple iPhone Antitrust Litigation

Ben, we continue to work to provide an answer to you on the timing for a production of transactional data, but we have
not been able determine that answer yet. We will get back to you as soon as possible.


Eli Lazarus

GIBSON DUNN
Gibson, Dunn & Crutcher LLP
555 Mission Street, San Francisco, CA 94105-0921
Tel +1 415.393.8340 • Fax +1 415.374.8496
ELazarus@gibsondunn.com • www.gibsondunn.com



From: Lazarus, Eli M.
Sent: Tuesday, December 8, 2020 5:15 PM
To: bens@hbsslaw.com; Srinivasan, Jay P. <JSrinivasan@gibsondunn.com>; jkarin@cravath.com; *** GDC EpicLitTeam
<AppleAppStoreDiscovery@gibsondunn.com>; bmaida@cravath.com; Yang, Betty X. <BYang@gibsondunn.com>;
byrd@whafh.com; dejong@whafh.com; epic-mobileapps@cravath.com; guiney@whafh.com;
LMoskowitz@cravath.com; rifkin@whafh.com; robl@hbsslaw.com; shanas@hbsslaw.com; steve@hbsslaw.com;
tedw@hbsslaw.com
Subject: RE: Activity in Case 4:11-cv-06714-YGR In re Apple iPhone Antitrust Litigation

Ben, we received your question below and are working to determine the answer, which we hope to share with you
tomorrow.
Best regards,
Eli


Eli Lazarus

GIBSON DUNN
Gibson, Dunn & Crutcher LLP
555 Mission Street, San Francisco, CA 94105-0921
Tel +1 415.393.8340 • Fax +1 415.374.8496
ELazarus@gibsondunn.com • www.gibsondunn.com




                                                          2
               Case 4:20-cv-05640-YGR Document 225-14 Filed 12/31/20 Page 4 of 10

From: Ben Siegel <bens@hbsslaw.com>
Sent: Monday, December 7, 2020 10:47 AM
To: Lazarus, Eli M. <ELazarus@gibsondunn.com>; Srinivasan, Jay P. <JSrinivasan@gibsondunn.com>;
jkarin@cravath.com; *** GDC EpicLitTeam <AppleAppStoreDiscovery@gibsondunn.com>; bmaida@cravath.com; Yang,
Betty X. <BYang@gibsondunn.com>; byrd@whafh.com; dejong@whafh.com; epic-mobileapps@cravath.com;
guiney@whafh.com; LMoskowitz@cravath.com; rifkin@whafh.com; robl@hbsslaw.com; shanas@hbsslaw.com;
steve@hbsslaw.com; tedw@hbsslaw.com
Subject: FW: Activity in Case 4:11-cv-06714-YGR In re Apple iPhone Antitrust Litigation

[External Email]
Eli, Per the below, on December 15, Magistrate Judge Hixson will hear oral argument on the joint letter briefs
submitted by Class Plaintiffs and Apple on November 13, including the joint letter brief regarding Apple’s
production of transactional data. On the “first” issue, Class Plaintiffs’ position is that Apple should
immediately produce its transactional data without Class Plaintiffs being required to agree, now, that they will
make no further data requests or pay for any supplemental data production. Apple, on the other hand, takes the
position that it should only have to produce the transactional data if Class Plaintiffs agree that no further
production will be requested unless Class Plaintiffs pay for any supplemental data production.

If the Court sides with Class Plaintiffs, Apple will be required to immediately produce the transactional data. If
the Court sides with Apple, Class Plaintiffs may nonetheless have to request production at that time pursuant to
Apple’s terms given the upcoming class certification deadline.

Either way, for planning purposes and as part of a good faith meet and confer process, Class Plaintiffs request
that by the end of tomorrow, Tuesday, December 8, 2020, Apple specify how long it will take for Apple to
produce this critical transactional data on the terms agreed to thus far.

Very truly yours, Ben


Ben Siegel | Hagens Berman Sobol Shapiro LLP | Direct: (510) 725-3036

From: ecf-cand@cand.uscourts.gov <ecf-cand@cand.uscourts.gov>
Sent: Thursday, December 3, 2020 4:39 PM
To: efiling@cand.uscourts.gov
Subject: Activity in Case 4:11-cv-06714-YGR In re Apple iPhone Antitrust Litigation


This is an automatic e-mail message generated by the CM/ECF system. Please DO NOT RESPOND to this e-mail
because the mail box is unattended.
***NOTE TO PUBLIC ACCESS USERS*** Judicial Conference of the United States policy permits attorneys of record and
parties in a case (including pro se litigants) to receive one free electronic copy of all documents filed electronically, if
receipt is required by law or directed by the filer. PACER access fees apply to all other users. To avoid later charges,
download a copy of each document during this first viewing. However, if the referenced document is a transcript, the
free copy and 30 page limit do not apply.

                                                    U.S. District Court

                                               California Northern District

Notice of Electronic Filing


                                                             3
               Case 4:20-cv-05640-YGR Document 225-14 Filed 12/31/20 Page 5 of 10


The following transaction was entered on 12/3/2020 at 4:39 PM PST and filed on 12/3/2020
Case Name:           In re Apple iPhone Antitrust Litigation
Case Number:         4:11-cv-06714-YGR
Filer:
Document Number: 297(No document attached)

Docket Text:

CLERKS NOTICE SETTING ZOOM HEARING. Discovery Hearing set for 12/15/2020 at 10:00 AM - Zoom
Videoconference Only before Magistrate Judge Thomas S. Hixson. Re ECF Docket Joint Letter Briefs
dated 11/13/2020.

On 12/14/2020, counsel will email the Courtroom Deputy, Rose Maher, with their appearances so that
they may be promoted to Panelist, so they may participate in the hearing on 12/15/2020 at 10:00 AM.

Courtroom Deputy email: Rose_Maher@cand.uscourts.gov

Webinar Access: All counsel, members of the public, and media may access the webinar information at
https://www.cand.uscourts.gov/tsh

General Order 58. Persons granted access to court proceedings held by telephone or videoconference
are reminded that photographing, recording, and rebroadcasting of court proceedings, including
screenshots or other visual copying of a hearing, is absolutely prohibited.

Zoom Guidance and Setup: https://www.cand.uscourts.gov/zoom/.

Discovery Hearing set for 12/15/2020 at 10:00 AM - Zoom Videoconference Only before
Magistrate Judge Thomas S. Hixson. Re: Joint Letter Brief dated 11/13/2020.

(This is a text-only entry generated by the court. There is no document associated with this
entry.) (rmm2S, COURT STAFF) (Filed on 12/3/2020)
Case Name:          Cameron et al v. Apple Inc.
Case Number:        4:19-cv-03074-YGR
Filer:
Document Number: 175(No document attached)

Docket Text:

CLERKS NOTICE SETTING ZOOM HEARING. Discovery Hearing set for 12/15/2020 at 10:00 AM - Zoom
Videoconference Only before Magistrate Judge Thomas S. Hixson. Re ECF Docket Joint Letter Briefs
dated 11/13/2020.

On 12/14/2020, counsel will email the Courtroom Deputy, Rose Maher, with their appearances so that
they may be promoted to Panelist, so they may participate in the hearing on 12/15/2020 at 10:00 AM.

Courtroom Deputy email: Rose_Maher@cand.uscourts.gov

Webinar Access: All counsel, members of the public, and media may access the webinar information at
https://www.cand.uscourts.gov/tsh


                                                     4
             Case 4:20-cv-05640-YGR Document 225-14 Filed 12/31/20 Page 6 of 10
General Order 58. Persons granted access to court proceedings held by telephone or videoconference
are reminded that photographing, recording, and rebroadcasting of court proceedings, including
screenshots or other visual copying of a hearing, is absolutely prohibited.

Zoom Guidance and Setup: https://www.cand.uscourts.gov/zoom/.

Discovery Hearing set for 12/15/2020 at 10:00 AM - Zoom Videoconference Only before
Magistrate Judge Thomas S. Hixson. Re: Joint Letter Brief dated 11/13/2020.

(This is a text-only entry generated by the court. There is no document associated with this
entry.) (rmm2S, COURT STAFF) (Filed on 12/3/2020)

4:11-cv-06714-YGR Notice has been electronically mailed to:

Anna Tryon Pletcher      apletcher@omm.com, anna-pletcher-8139@ecf.pacerpro.com

Betsy Carol Manifold      manifold@whafh.com, cabrera@whafh.com, loutsenhizer@whafh.com,
salas@whafh.com

Brittany Nicole DeJong     dejong@whafh.com

Christopher A.. Nedeau     cnedeau@nedeaulaw.net

Cynthia Richman      crichman@gibsondunn.com

Daniel Glen Swanson       dswanson@gibsondunn.com

David C. Frederick dfrederick@kellogghansen.com, ecf-253ad491995a@ecf.pacerpro.com,
ktondrowski@kellogghansen.com

David R. Eberhart     deberhart@omm.com, david-eberhart-1121@ecf.pacerpro.com, modonnell@omm.com

Elena Zarabozo      ezarabozo@omm.com

Eli Martin Lazarus elazarus@gibsondunn.com, ACasey@gibsondunn.com, BYang@gibsondunn.com,
lchiou@gibsondunn.com

Elizabeth Andrea Rodd      erodd@mwe.com

Ethan D. Dettmer     edettmer@gibsondunn.com, pbelloso@gibsondunn.com

Evan N Schlom       eschlom@omm.com

Harry Phillips   hphillips2@gibsondunn.com

Jagannathan P Srinivasan     jsrinivasan@gibsondunn.com

Jamie Lynne Miller     jmiller@aliotolaw.com

Jeffery Kenneth Perkins     jefferykperkins@aol.com

                                                      5
             Case 4:20-cv-05640-YGR Document 225-14 Filed 12/31/20 Page 7 of 10

John J. Calandra    jcalandra@mwe.com

Joseph M. Alioto , Sr    jmalioto@aliotolaw.com, jmiller@aliotolaw.com, nas@aliotolaw.com

Katrina Marie Robson      krobson@omm.com, katrina-robson-6207@ecf.pacerpro.com

Kyle Kenneth Batter kylebatter@gmail.com, calendar@quinnemanuel.com, kylebatter@quinnemanuel.com,
patriciareilly@quinnemanuel.com

Lawrence Genaro Papale      lgpapale@papalelaw.com

Mark A. Perry      mperry@gibsondunn.com, dlattimore@gibsondunn.com

Mark Carl Rifkin     rifkin@whafh.com

Matthew Moylan Guiney       guiney@whafh.com

Michael Liskow      mliskow@calcaterrapollack.com, 4228583420@filings.docketbird.com

Michelle S Lowery mslowery@mwe.com, aj-squillante-0537@ecf.pacerpro.com, eric-dellon-
5513@ecf.pacerpro.com, mco@mwe.com, smeyer@mwe.com

Nicole Lauren Castle     ncastle@mwe.com

Paul Jeffrey Riehle paul.riehle@faegredrinker.com, claren.sanjuan@faegredrinker.com,
DocketGeneral@faegredrinker.com, gloria.cadena@faegredrinker.com

Peter John Sacripanti    psacripanti@mwe.com

Rachele R. Byrd     byrd@whafh.com, cabrera@whafh.com, loutsenhizer@whafh.com, salas@whafh.com

Richard Alexander Saveri     rick@saveri.com

Richard Joseph Doren rdoren@gibsondunn.com, ahadjiyianni@gibsondunn.com, kwright@gibsondunn.com,
swilson2@gibsondunn.com

Robert F Lopez      robl@hbsslaw.com

Scott A Schaeffer    sschaeffer@omm.com

Steve W. Berman      steve@hbsslaw.com, heatherw@hbsslaw.com, nicolleg@hbsslaw.com

Theodore Joseph Boutrous , Jr    tboutrous@gibsondunn.com

Theresa Driscoll Moore     TMoore@aliotolaw.com

Thomas C. Willcox       tcw19law@gmail.com

Todd Anthony Seaver      tseaver@bermantabacco.com, sfservice@bermantabacco.com

Veronica Smith Lewis      VLewis@gibsondunn.com, CFitzgerald@gibsondunn.com,
                                                     6
               Case 4:20-cv-05640-YGR Document 225-14 Filed 12/31/20 Page 8 of 10

Macuna@gibsondunn.com

Victoria F. Maroulis victoriamaroulis@quinnemanuel.com, johniekelly@quinnemanuel.com,
rachelaripez@quinnemanuel.com

4:11-cv-06714-YGR Please see Local Rule 5-5; Notice has NOT been electronically mailed to:

4:19-cv-03074-YGR Notice has been electronically mailed to:

Anna Tryon Pletcher     apletcher@omm.com, anna-pletcher-8139@ecf.pacerpro.com

Benjamin Jacob Siegel      bens@hbsslaw.com, brianm@hbsslaw.com, sfa_filings@hbsslaw.com

Brian C. Rocca      brian.rocca@morganlewis.com

Brian Michael Hogan      bhogan@fklmlaw.com

Cadio R. Zirpoli     cadio@saveri.com, mogden@saveri.com

Cynthia Richman      crichman@gibsondunn.com

Daniel Glen Swanson      dswanson@gibsondunn.com

David R. Eberhart     deberhart@omm.com, david-eberhart-1121@ecf.pacerpro.com, modonnell@omm.com

Douglas A. Millen     doug@fklmlaw.com

Eamon Padraic Kelly      ekelly@sperling-law.com

Elena Zarabozo      ezarabozo@omm.com

Eli Martin Lazarus elazarus@gibsondunn.com, ACasey@gibsondunn.com, BYang@gibsondunn.com,
lchiou@gibsondunn.com

Elizabeth Andrea Rodd      erodd@mwe.com

Ethan D. Dettmer      edettmer@gibsondunn.com, pbelloso@gibsondunn.com

Evan N Schlom       eschlom@omm.com

Guido Saveri     guido@saveri.com

Harry Phillips     hphillips2@gibsondunn.com

Jagannathan P Srinivasan     jsrinivasan@gibsondunn.com

John J. Calandra     jcalandra@mwe.com

Jonathan Marc Jagher     jjagher@fklmlaw.com

Joseph M Vanek       jvanek@sperling-law.com, vguth@sperling-law.com
                                                    7
               Case 4:20-cv-05640-YGR Document 225-14 Filed 12/31/20 Page 9 of 10


Katrina Marie Robson         krobson@omm.com, katrina-robson-6207@ecf.pacerpro.com

Kimberly A Justice       kjustice@fklmlaw.com

Kyle Kenneth Batter kylebatter@gmail.com, calendar@quinnemanuel.com, kylebatter@quinnemanuel.com,
patriciareilly@quinnemanuel.com

Mark A. Perry       mperry@gibsondunn.com, dlattimore@gibsondunn.com

Michelle S Lowery mslowery@mwe.com, aj-squillante-0537@ecf.pacerpro.com, eric-dellon-
5513@ecf.pacerpro.com, mco@mwe.com, smeyer@mwe.com

Nicole Lauren Castle       ncastle@mwe.com

Paul Jeffrey Riehle paul.riehle@faegredrinker.com, claren.sanjuan@faegredrinker.com,
DocketGeneral@faegredrinker.com, gloria.cadena@faegredrinker.com

Peter John Sacripanti      psacripanti@mwe.com

Richard Alexander Saveri         rick@saveri.com

Richard Joseph Doren rdoren@gibsondunn.com, ahadjiyianni@gibsondunn.com, kwright@gibsondunn.com,
swilson2@gibsondunn.com

Robert F Lopez       robl@hbsslaw.com

Sarah Jane Van Culin        sarah@saveri.com

Scott A Schaeffer      sschaeffer@omm.com

Shana E. Scarlett shanas@hbsslaw.com, breannav@hbsslaw.com, jeanethd@hbsslaw.com,
nicolleg@hbsslaw.com, sfa_filings@hbsslaw.com

Steve W. Berman        steve@hbsslaw.com, heatherw@hbsslaw.com, nicolleg@hbsslaw.com

Theodore J. Boutrous , Jr       tboutrous@gibsondunn.com, iguerra@gibsondunn.com

Veronica Smith Lewis VLewis@gibsondunn.com, CFitzgerald@gibsondunn.com,
Macuna@gibsondunn.com

Victoria F. Maroulis victoriamaroulis@quinnemanuel.com, johniekelly@quinnemanuel.com,
rachelaripez@quinnemanuel.com

4:19-cv-03074-YGR Please see Local Rule 5-5; Notice has NOT been electronically mailed to:



PRIVILEGED & CONFIDENTIAL: This e-mail message (and any attachments) is for the exclusive use of the intended recipient(s)
and likely contains confidential and privileged information. It is the property of the law firm Hagens Berman Sobol Shapiro LLP.
Do not disseminate this email, its content, or any attachments without approval of Hagens Berman. If you are not the
                                                               8
               Case 4:20-cv-05640-YGR Document 225-14 Filed 12/31/20 Page 10 of 10
intended recipient, please do not read, distribute, or take any other action in reliance upon this message. If you have received
this email in error, please notify the sender immediately by return e-mail and promptly delete this message and its
attachments from your computer system. Be advised that no privileges are waived by the transmission of this message.


This message may contain confidential and privileged information for the sole use of the intended recipient.
Any review, disclosure, distribution by others or forwarding without express permission is strictly prohibited. If
it has been sent to you in error, please reply to advise the sender of the error and then immediately delete this
message.

Please see our website at https://www.gibsondunn.com/ for information regarding the firm and/or our privacy
policy.




                                                               9
